6/2/23, 3:44 PM Case 1:19-cv-02232-T Jkisy NBesume mW een -- Peil@g O8/keviée Bf Extdkage 1 of 1

[External]

Confirmed.

DISH, however, is not committing to any particular path if the extension request is denied.

Thanks, Jeff

On Thu, Mar 30, 2023 at 8:50 AM Scanlan, Melissa <Melissa.Scanlan@t-mobile.com> wrote:

This message originated outside of DISH and was sent by: melissa.scanlan@t-mobile.com

Jeff:

While we are awaiting the Department’s approval of your requested 60-day extension re: the 800Mhz sale, please
confirm this agreement that, until such extension is either granted or denied, neither T-Mobile or DISH will give a notice
of breach for a failure under Section 5.5(a) of the License Purchase Agreement to make the FCC Applications by the
Filing Deadline. In the event that a 60-day extension is granted, we can agree to an amendment of the LPA to modify
the definition of Filing Deadline to accommodate the new deadline. In the unlikely event that the extension is denied, T-
Mobile is ready to file the FCC Application and would anticipate doing so under the terms of the LPA.

Best regards,

Melissa

VP, Antitrust & Intellectual Property
T-Mobile USA

Jeff Blum
Jeffrey.blum@dish.com
720-250-6973

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